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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                      Plaintiff,

v.

     1. DAVITA INC.,

     2. KENT THIRY,

                      Defendants.


 [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR ENLARGEMENT


       This matter comes before the Court on defendants’ unopposed motion of October 29,

2021, for a six-page enlargement of their joint reply in support of their motion to dismiss. The

Court hereby grants the motion. Accordingly, it is

       ORDERED that defendants may file a reply not to exceed 11 pages, consistent with

otherwise-applicable rules and practice standards.

       DATED October ____, 2021.

                                             BY THE COURT:



                                             _______________________________
                                             R. BROOKE JACKSON
                                             United States District Judge
